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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                    :      CRIMINAL ACTION
                                            :
           v.                               :      NO.     15-127-1
                                            :
KENNETH DANIELS                             :


                                          ORDER


       AND NOW, this 12th day of August, 2020, upon request of the United States of America

for a one-week extension of time to submit its response to defendant’s Motion to Vacate/Set

Aside/Correct Sentence (Doc. 87), IT IS HEREBY ORDERED that the request is GRANTED.

The Government shall file their response no later than August 21, 2020.


                                                BY THE COURT:

                                                      /s/Jacob P. Hart

                                                ____________________________________
                                                JACOB P. HART
                                                UNITED STATES MAGISTRATE JUDGE
